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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,                 )
                                            )
         Plaintiff,                         )
                                            )
  v.                                        )      Case No. 2004-cr-40039-JPG
                                            )
  JAMES A. TAYLOR,                          )
                                            )
         Defendant.                         )

                          MEMORANDUM AND ORDER

  GILBERT, District Judge:

         This matter comes before the Court on Defendant James Taylor’s motion

  to suppress (Doc. 152), to which the Government responded. (Doc. 216). Taylor,

  charged in this case with conspiring to manufacture, possess with intent to

  distribute, and distribute 500 grams of methamphetamine in violation of 21

  U.S.C. §§ 841(a)(1), 846, moves to suppress an incriminating statement he made

  to police at the Franklin County hospital during treatment for injuries he

  received as the driver of a vehicle involved in a one-car accident. Principally

  citing a hospital drug-screen reporting positive results for the presence of

  amphetamines, benzodiazepine and opiates in his system, Taylor states his

  essential argument as follows: “Since the defendant had positive drug tests for

  three separate controlled substances, and since the emergency room record

  indicates that he was incoherent when he was brought to the hospital, the




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  defendant’s statement given to police at this time was involuntary and should be

  inadmissible in this case.”

         The Court disagrees, however, for several reasons. For one thing, Taylor’s

  initial premise is as true as it is irrelevant. It’s “true,” given that a hospital lab

  report indicates the presence of “three separate controlled substances” in his

  system, as Taylor suggests; but it’s “irrelevant” because this evidence such as it is

  falls well short of demonstrating impairment. So, too, with Taylor’s second

  premise, which misses the mark because it’s his condition at the time the

  statement was made that’s relevant here, not his condition when he first arrived

  at the hospital or at any other time, for that matter—even assuming he was

  “incoherent” when he arrived at the hospital. The controlling legal principle

  holds that a confession will be deemed involuntary (and therefore inadmissible)

  only if the Court finds, by a preponderance of the evidence, that the confession

  was the product of psychological or physical intimidation such that it couldn’t

  have been the product of rational intellect or free will. United States v.

  Montgomery, 14 F.3d 1189, 1195 (7th Cir. 1994). Also important for present

  purposes is the notion that, in the absence of a disputed factual issue, a court is

  well within its discretion to deny a suppression hearing. United States v. Toro,

  359 F.3d 879, 884 (7th Cir. 2004).

         That said, let’s begin our analysis with the statement itself. Exhibits

  attached to the motion to suppress suggest that the interview lasted just over an

  hour. After being advised of his Miranda rights, Taylor began by telling police


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  that although he didn’t remember placing a meth lab in the soon-to-be-wrecked

  truck prior to the accident, he admittedly saw the lab afterwards and therefore

  asked two passers-by to hide it from the police for him. Next, he admitted that

  the hose and fitting found in the truck were both his, and that he used those

  items to steal anhydrous ammonia from the Benton and Dale, Illinois, farm

  supply stores. He used two seven gallon containers in that process, he

  continued, which he generally executed on a bi-monthly basis. Then, stolen

  anhydrous safely in hand, he’d apparently sold it by the cup to three main

  clients: Kurtis Mateycak, in exchange for one gram of meth; Blake Sullivan and

  Miki Jo Lampley, for $10 to $20, plus a gram; and Dustin Forby, for an eight ball

  (or 3.5 grams, a relatively bad deal for Forby). Taylor also recalled to police that

  Mateycak threatened Gary Brown because of Brown’s cooperation with the

  authorities in this case; Taylor even provided the details of how Mateycak

  planned to “stretch [Brown] out.” Accordingly, based on the detailed nature of

  Taylor’s statement, most folks would probably say that everything he said

  during the interview must’ve been said voluntarily—and reasonably so. For

  what it’s worth, that Taylor arranged for someone to pick him up from the

  hospital, and that he did so less than two hours after giving the above statement

  to police that evening, is no less telling than his statement itself; for as things

  appear, Taylor left the hospital without being discharged and after telling the

  attending nurse he was going outside for a smoke and that he’d be right back.




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  Those calculated acts certainly aren’t consistent with the conduct of someone

  incapacitated to the extent Taylor posits here.

         But what of the lab results indicating the presence of drugs in Taylor’s

  system, which he implicitly argues suggest impairment and therefore that the

  statement he made to police was involuntary? The short answer is that the

  presence of drugs alone suggests no such thing. One’s level of impairment isn’t

  obvious from the mere presence of drugs in one’s system, without more.

  Indeed, just how is one to translate a “percentage of drugs” into a “level of

  impairment”? Second, and equally important, impairment is only relevant to the

  extent it makes police coercion more effective, as the government correctly notes.

  It follows that some level of coercion must necessarily exist in the first instance,

  although the law sensibly recognizes that a lesser amount of coercion will do

  when the suspect’s impairment is reasonably apparent to the interrogating

  officers. Montgomery, 14 F.3d at 1195. But again, nothing of the sort exists here.

  For as the Court noted in detail above, Taylor’s motion says nothing about his

  supposed level of impairment, if we’re to believe he was impaired at all, and

  nothing suggests that the interrogating officers’ behavior was coercive, even

  assuming arguendo that the lesser standard applicable to those who reasonably

  appear intoxicated applies in this case. See Montgomery, 14 F.3d at 1195.

         For the foregoing reasons, Taylor’s motion to suppress (Doc. 152) is

  DENIED.




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  IT IS SO ORDERED.

  DATED: July 13, 2005.

                                            /s/ J. Phil Gilbert__________
                                            J. PHIL GILBERT
                                            U.S. District Judge




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